     Case 2:22-cv-00148 Document 135 Filed 01/16/24 Page 1 of 2 PageID #: 1741




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


CHARLES SUMMERS,

                               Plaintiff,

v.                                                    CIVIL ACTION NO. 2:22-cv-00148

WEST VIRGINIA DEPARTMENT
OF HOMELAND SECURITY, et al.,

                               Defendants.



                                             ORDER


        The Court ORDERS that the parties redact, as necessary, their respective trial exhibits,

prior to introducing the same at trial, to ensure that such exhibits are in compliance with the E-

Government Act as more specifically set forth in the Court’s Local Rules of Civil Procedure as

follows:

        LR Civ P 5.2.1. Privacy Protection for Filings Made with the Court

        (a) Documents.

        In compliance with the policy of the Judicial Conference of the United States, and
        the E-Government Act of 2002 and its amendments, and in order to promote
        electronic access to case files while also protecting personal privacy and other
        legitimate interests, parties shall refrain from including, or shall partially redact
        where inclusion is necessary, the following personal data identifiers from all
        pleadings filed with the court, including exhibits thereto, whether filed,
        electronically or in paper, unless otherwise ordered by the court.

        (1) Social Security Numbers. If an individual's social security number must be
            included in a pleading, only the last four digits of that number should be used.

                                                 1
  Case 2:22-cv-00148 Document 135 Filed 01/16/24 Page 2 of 2 PageID #: 1742




       (2) Names of Minor Children. If the involvement of a minor child must be
           mentioned, only the initials of that child should be used.

       (3) Dates of Birth. If an individual's date of birth must be included in a pleading,
           only the year should be used.

       (4) Financial Account Numbers. If financial account numbers are relevant, only
           the last four digits of these numbers should be used.

       In compliance with the E-Government Act of 2002, a party wishing to file a
       document containing the personal data identifiers listed above may file an
       unredacted document under seal or may file a reference list under seal. This
       document shall be retained by the court as part of the record. The court will require
       the party to file a redacted copy for the public file.

       The responsibility for redacting these personal identifiers rests solely with
       counsel and the parties. The Clerk will not review each pleading for
       compliance with this rule.

       (b) Transcripts of Hearings.

       If information listed in Section (a) of this Rule is elicited during testimony or other
       court proceedings, it will become available to the public when the official transcript
       is filed at the courthouse unless, and until, it is redacted. The better practice is to
       avoid introducing this information into the record in the first place. If a restricted
       item is mentioned in court, any party or attorney may ask to have it stricken from
       the record or partially redacted to conform to the privacy policy, or the court may
       do so on its own motion.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and to

any unrepresented party.

                                              ENTER:          January 12, 2024




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